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UNITED STATES DlSTRICT COURT F;;§ §§
WESTERN DlSTRlCT OF TENNESSEE
MEMPHls DlvlsloN 35 31 §§ ;§_
uNlTED sTA'rEs oF AMERch /§§§g_… § §§ 13
2: 04cR20103-02- D ?ff11‘1<1U~1 fig ,,)`f-
-v_ 2:04CR20459-01-D.".1!D,01 T|,l\ §'Jl\...c\rrr)HflS

ER|C MAUR|CE HOLLEY
J. Patten Brown FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

 

JUDGMENT lN A CRlMiNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1* of the indictment (2:04cr20103) and Count 1**
of the information (2:04cr20459) on November 18, 2004. Accordingly, the court has
adjudicated that the defendant is guilty of the following offense(s)'.

Date Count
Tit\e s. section M offense M§)
Conc|uded
18 U.S.C. § 922(g) Fe|on in Possession of a Firearm 02/08/2004 1*
18 U.S.C. § 1512(c)(2) Tampering With a Witness 021'1 6/2004 1**

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996

Count(s) 2-6 of the indictment (2:04cr20103-02-D) are dismissed on the motion of the United States.

iT lS FURTHER ORDERED that the defendant shall notify the United States Attomey for this district
Within 30 days of any change of name, residence, or mailing address until ali fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 01/121'1969 April 18, 2005
Deft's U.S. iViarshal No.: 19513-076

Defendant's iViai|ing Address:
7259 Engiish Dr.
Mernphis, TN 38125

      

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Case No: 2:04CR20103-02; 2:O4CR20459-01 Defendant Name: Eric Maurice HOLLEY Page 2 of 4
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a totai term of 21 Months.

The Court recommends to the Bureau of Prisons:
That the defendant participate in a drug treatment program.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UNiTED STATES MARSHAL
By:

 

Deputy U.S. |V|arshai

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Case No: 2:04CR20103-02; 2:04CR20459-0‘l Defendant Name: Eric Maurice HOLLEY Page 3 of 4

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release1 the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafterl as directed by the probation officer.

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training. or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain frorn the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance',

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notincations and to confirm the defendants compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nionetary Pena|ties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer',

The defendant shall cooperate in DNA collection as directed by the Probation Officer.

CRIM|NAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution
$100.00~ (2:04cr20103)
$100.00- (2:04cr20459)

 

The Special Assessment shall be due immediately

F|NE
No fine imposed

REST|TUTION
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 255 in
case 2:04-CR-20103 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

J. Patten BroWn

FEDERAL PUBLIC DEFENDER
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Ste. 200

Memphis7 TN 38103

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167 N. Main St.

Ste. 800

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U.S. ATTORNEY'S OFFICE
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Honorable Bernice Donald
US DISTRICT COURT

